                       UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           3:20-CV-00504-FDW-DSC

CPI SECURITY SYSTEMS, INC.,

                                  Plaintiff,
                                                       VIVINT’S RESPONSE
                      v.
                                                       TO PRO SE MOTION
                                                       FOR TRANSCRIPTS
VIVINT SMART HOME, INC., et al.,

                               Defendants.


         In response to the motion by Ms. Christie Smythe, Defendants Vivint Smart

Home, Inc. and Legacy Vivint Smart Home, Inc. take no position, but state the

following:

         It appears that the Administrative Office of the United States Courts, the

Court’s law clerk, and the Court’s Official Court Reporter have informed Ms. Smythe

of the process for receiving transcripts. Doc. 153 at 2.

         At present, the Court’s Official Court Reporter estimates an early-April

delivery of the transcripts to the parties. Doc. 152 at 2. Immediately after receiving

the transcripts, Vivint will examine them for any necessary redactions.        If any

redactions are needed, Vivint will confer with CPI and notify the Court immediately.

That process should expedite the availability of the transcripts that Ms. Smythe

seeks.
Respectfully submitted the 7th day of March, 2023.

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                          CERTIFICATE OF SERVICE

      I certify that I have electronically filed the foregoing document with the Clerk

of Court using the CM/ECF system, which will send notification of filing to all counsel

and parties of record.

      This the 7th day of March, 2023.

                                        s/ Andrew H. Erteschik
                                        Andrew H. Erteschik




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